Case 1:17-cv-00099-JKB Document 300 Filed 03/16/20 Page 1 of 1
Case 1:17-cv-00099-JKB Document 299-1 Filed 03/13/20 Page 1of1

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA, *
Plaintiff, x
Vv. * CIVIL NO. JKB-17-0099

BALTIMORE POLICE DEPARTMENT, *
et al.,
Defendants. =
o0o

enc heBonnn

Upon consideration of the Consent Motion to Modify the Monitoring Plan, filed by the
Baltimore Police Department and the City of Baltimore on March 13, 2020 with the agreement of
the United States and the Baltimore Police Department Monitoring Team, it is hereby ORDERED
that the proposed modifications are approved and adopted and that the Parties and the Monitoring

Team shall comply with all of its terms.

DATED this (day of Muh , 2020

BY THE COURT:

Qamew th 2.

James K. Bredar
United States District Judge

 
